     Case 2:16-bk-22968-VZ       Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50          Desc
                                  Main Document     Page 1 of 7


 1   Christina J. O, #266845
     Malcolm ♦ Cisneros, A Law Corporation
 2
     2112 Business Center Drive, 2nd Floor
 3   Irvine, California 92612
     (Telephone) (949) 252-9400
 4   (Facsimile) (949) 252-1032
     christinao@mclaw.org
 5
     Attorneys for Movant
 6
 7                              UNITED STATES BANKRUPTCY COURT
 8                CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 9
10   In re                                         Bankruptcy Case No. 2:16-bk-22968-VZ
11
     Alvina T. Castro and Karen O. Castro,         Chapter 13
12
                     Debtors.                      STIPULATION            FOR         ADEQUATE
13                                                 PROTECTION
14
                                                   Hearing Date:
15                                                 DATE: February 19, 2019
                                                   TIME: 9:30 a.m.
16                                                 CTRM: 1368
17
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///




                                               1
            Case 2:16-bk-22968-VZ                  Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50                                     Desc
                                                    Main Document     Page 2 of 7



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                2112 Business Center Drive
                                                       Second Floor
                                                     Irvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): STIPULATION FOR ADEQUATE PROTECTION will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 13, 2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

DEBTORS’ ATTONEY: Mark E Brenner mebrenner@gmail.com
CHAPTER 13 TRUSTEE: Nancy K Curry (TR) TrusteeECFMail@gmail.com
NOTICE: Marian Garza ecfnotices@ascensioncapitalgroup.com
NOTICE: Carlos R Hernandez-Vivoni Carlos.Hernandez-Vivoni@bonialpc.com
NOTICE: Andrew Kussmaul Andrew.Kussmaul@Bonialpc.com
NOTICE: Mohammed Lala mohammed.lala@aissolution.com
NOTICE: Christina J O christinao@mclaw.org, CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com
U.S. TRUSTEE: United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On March 13, 2019 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

HONORABLE BANKRUPTCY COURT JUDGE: Vincent P. Zurzolo, 255 East Temple St., Ste. 1360, Los Angeles, CA 90012

DEBTORS: Alvin T. Castro and Karen O. Castro, 2422 N. Ditman Ave., Los Angeles, CA 90032


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 13, 2019                 Tami Scholtz                                                    /s/ Tami Scholtz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
            Case 2:16-bk-22968-VZ                  Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50                                      Desc
                                                    Main Document     Page 3 of 7

 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Christina J. O, #266845
 Malcolm ♦ Cisneros, A Law Corporation
 2112 Business Center Drive, Second Floor
 Irvine, California 929612
 christinao@mclaw.org
 (949) 252-9400 (Telephone)
 (949) 252-1032 (Facsimile)




      Attorney for Movant
      Movant appearing without an attorney

                                           UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:16-bk-22968-VZ

 Alvin T. Castro and Karen O. Castro,                                         CHAPTER: 13

                                                                                  ORDER GRANTING MOTION FOR RELIEF
                                                                                        FROM THE AUTOMATIC
                                                                                      STAY UNDER 11 U.S.C. § 362
                                                                                          (REAL PROPERTY)

                                                                              DATE: February 19, 2019
                                                                              TIME: 9:30 a.m.
                                                                              COURTROOM: 1368
                                                                              PLACE: 255 East Temple Street, Los Angeles, CA 90012



                                                              Debtor(s).

 Movant: CIT Bank, N.A., and its successor and/or assignees


1. The Motion was:                  Opposed               Unopposed               Settled by stipulation

2. The Motion affects the following real property (Property):

    Street address:        2422 North Ditman Avenue
    Unit/suite number:
    City, state, zip code: Los Angeles, CA 90032

    Legal description or document recording number (including county of recording):

    COUNTY OF LOS ANGELES: 061325850

          See attached page.



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                Page 1                                         F 4001-1.RFS.RP.ORDER
            Case 2:16-bk-22968-VZ                   Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50                                      Desc
                                                     Main Document     Page 4 of 7
3. The Motion is granted under:
      a.         11 U.S.C. § 362(d)(1)
      b.         11 U.S.C. § 362(d)(2)
      c.         11 U.S.C. § 362(d)(3)
      d.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                 creditors that involved:
           (1)       The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                     secured creditor or court approval; and/or
           (2)       Multiple bankruptcy cases affecting the Property.
           (3)       The court        makes      does not make         cannot make
                     a finding that the Debtor was involved in this scheme.
           (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
               order shall be binding in any other case under this title purporting to affect the Property filed not later than 2
               years after the date of the entry of this order by the court, except that a debtor in a subsequent case under
               this title may move for relief from this order based upon changed circumstances or for good cause shown,
               after notice and a hearing. Any federal, state or local government unit that accepts notices of interests or
               liens in real property shall accept any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set forth in Exhibit                   to this order.
      c.         Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                 remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or property of the
           estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not conduct a foreclosure sale of the Property before (date)                                      .

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Agreement
           contained within this order.

8.         In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
           entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, as
           to the same terms and conditions as to the Debtor.

10.        The 14-day stay as provided in FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.

12. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
    modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its servicing
    agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.



           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 2                                         F 4001-1.RFS.RP.ORDER
             Case 2:16-bk-22968-VZ                   Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50                                      Desc
                                                      Main Document     Page 5 of 7
13. Upon entry of this order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
    Code § 2920.5(c)(2)(C).
14.         A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
15.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.
16.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
17.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
18.         Other (specify):




                                                                             ###




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 3                                         F 4001-1.RFS.RP.ORDER
            Case 2:16-bk-22968-VZ                  Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50                                      Desc
                                                    Main Document     Page 6 of 7

                                       ADEQUATE PROTECTION AGREEMENT
                                (This attachment is the continuation page for paragraph 7 of this order.)

The stay remains in effect subject to the following terms and conditions:

1.        The Debtor tendered payments at the hearing in the amount of

2.        The Debtor must make regular monthly payments in the amount of $2,796.04 commencing (date) March 1, 2019.
          The amount of these payments may be subject to change under the terms of the parties’ original agreements. All
          payments due Movant under this Adequate Protection Agreement must be paid to Movant at the following
          address:
                                                LoanCare
                                                PO Box 8068
                                                Virginia Beach VA 23450

3.        The Debtor must cure the postpetition default computed through February 2019 in the sum of $14,076.97 (which
          represents the 9/1/18-2/1/19 post-petition payments of $2,796.04 each, minus suspense balance of ($2,699.27) =
          $14,076.97) as follows:

     a.        In equal monthly installments of $1,719.44 each commencing (date) March 15, 2019 and continuing thereafter
               through and including (date) July 15, 2019;
     b.        By paying the sum of $3,760.31 on or before (date) February 25, 2019;
     c.        By paying the sum of $1,719.46 on or before (date) August 15, 2019.
     d.        By paying the sum of $                                     on or before (date)                       ,
     e.        Other (specify):


4.        The Debtor must maintain insurance coverage on the Property and must remain current on all taxes that fall due
          postpetition with regard to the Property.

5.        The Debtor must file a disclosure statement and plan on or before (date)
          The disclosure statement must be approved on or before (date)
          The plan must be confirmed on or before (date)

6.        Upon any default in the terms and conditions set forth in paragraphs 1 through 5 of this Adequate Protection
          Agreement, Movant must serve written notice of default to the Debtor and the Debtor’s attorney, if any. If the
          Debtor fails to cure the default within 14 days after service of such written notice:

     a.        The stay automatically terminates without further notice, hearing or order.
     b.        Movant may file and serve a declaration under penalty of perjury specifying the default, together with a
               proposed order terminating the stay, which the court may grant without further notice or hearing.
     c.        The Movant may move for relief from the stay upon shortened notice in accordance with LBRs.
     d.        The Movant may move for relief from the stay on regular notice.

7.        Notwithstanding anything contained in this Adequate Protection Agreement to the contrary, the Debtor shall be
          entitled to a maximum of (number) 3 notices of default and opportunities to cure pursuant to the preceding
          paragraph. Once the Debtor has defaulted this number of times on the obligations imposed by this order and has
          been served with this number of notices of default, Movant is relieved of any obligation to serve additional notices
          of default or to provide additional opportunities to cure. If an event of default occurs thereafter, Movant will be
          entitled, without first serving a notice of default or providing the Debtor with an opportunity to cure, to file and
          serve a declaration under penalty of perjury setting forth in detail the Debtor’s failures to perform under this
          Adequate Protection Agreement, together with a proposed order terminating the stay, which the court may enter
          without further notice or hearing.

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                Page 4                                         F 4001-1.RFS.RP.ORDER
            Case 2:16-bk-22968-VZ                Doc 35 Filed 03/13/19 Entered 03/13/19 11:46:50                                      Desc
                                                  Main Document     Page 7 of 7

8.      This Adequate Protection Agreement is binding only during the pendency of this bankruptcy case. If, at any time,
        the stay is terminated with respect to the Property by court order or by operation of law, this Adequate Protection
        Agreement ceases to be binding and Movant may proceed to enforce its remedies under applicable
        nonbankruptcy law against the Property and/or against the Debtor.

9.      If Movant obtains relief from stay based on the Debtor’s defaults under this Adequate Protection Agreement, the
        order granting such relief will contain a waiver of the 14-day stay as provided in FRBP 4001(a)(3).

10.     Movant may accept any and all payments made pursuant to this order without prejudice to or waiver of any rights
        or remedies to which Movant would otherwise have been entitled under applicable nonbankruptcy law.

11.     Other (specify):

        The Proof of Claim may be amended/supplemented to include attorney’s fees and costs.




                                                                         ###




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                              Page 5                                         F 4001-1.RFS.RP.ORDER
